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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

  LASHAWN JONES, ET AL.                            *         CIVIL ACTION

  v.                                               *         NO. 12-0859

  SUSAN HUTSON, ET AL.                             *         SECTION: “I” (5)

                            REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 78.1 and light of the Court’s prior Order [Doc. 1621], Sheriff Susan

Hutson (the “Sheriff”) respectfully requests that the Court grant oral argument on her Motion to

Terminate All Orders Regarding the Construction of the Phase III Jail (the “Motion”) [Doc. 1617].

The Court has set the submission date for the Motion on July 17, 2023. The United States and the

Plaintiff Class have filed oppositions to the Motion [Docs. 1624 & 1625], which have raised both

overlapping and separate arguments for denying the Motion. The Sheriff has addressed these

arguments in her Reply Brief, which she has filed contemporaneously with this request.

        The Motion asks the Court to terminate all prospective relief regarding the construction of

the Phase III jail because the Court’s orders violate 18 U.S.C. § 3626(g)(6) of the Prisoner

Litigation Reform Act (the “PLRA”). Although the parties and this Court have previously

considered other aspects of, and prohibitions under, the PLRA, namely, § 3626(a)(1)(C), the

Motion raises a challenge to the Court’s orders under this provision—§ 3626(g)(6)—for the first

time. Consequently, the Sheriff suggests that oral argument would permit a full opportunity for

the parties to address § 3626(g)(6) of the PLRA and to answer the Court’s questions.

        Moreover, in its June 28, 2023 Order [Doc. 1621] regarding the Sheriff’s Motion, the Court

directed the parties to “file memoranda addressing the question whether the Court should issue an

order embodying the terms of the CEA [i.e., Cooperative Endeavor Agreement] currently before
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the City Council if the Sheriff does, in fact, refuse to sign that document.” This issue is also a new

one that neither the parties nor the Court has previously addressed. Oral argument would also

allow the parties to present argument and respond to the Court’s questions on this new issue.

       Given the importance of the issues raised, for the first time, in the Motion as well as the

importance of this litigation, the Sheriff respectfully requests that the Court grant oral argument to

allow the parties to respond to the Court’s inquiries regarding the Motion and, thus, to assist the

Court in reaching the most well-considered ruling on the Motion.

                                                       Respectfully submitted,

                                                       /s/ John S. Williams
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